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                                                                                                                           2025 Mar-03 PM 09:31
   Fo r
      m :3P
                                    EMPLOYEE PERFORMANCE, PREAPPRAIS,4L                                                    U.S. DISTRICT COURT
   Revised (01/2006)                         STATE OF ALABAMA
                                                                                                                               N.D. OF ALABAMA

                                              Personnel Department
    EmpIeye Name: GRAN1tD tULUvER
                                                                                    SOda! Security Number:      Redacted
    Agency: 005CORRECnONS
                                                                                    Division , i000/cokMisstcNER's OFFiCg
    Classification: CORRECrIONS.ASSOCIATE COMM
                                                                                   Class code:. 60195
    Period Covered From: 10/01/2(116.      To:         (9/01/2017
                                                                                    Position Number: 00550104
                                                 ...




  These
  Please
  RESPOAVSXSILJ1rES/JJEUL
         factors
          refer toshould
                    the Performance
                         be discussedApp
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                                                                                                                                 ing the


  :Preappraisal. Refer tote same manual for info ii         tion concerning how to develop responsIbilities and results.




                                            RESPONS%B!LIT!ES/RESULS



     1.     Supervises and provides .general guidance to the Director of Transfers, the Institutional Coordinators and
            Wardens throuhout the Department.


     a.    Provides assistance to the institutional Coordinators in developing and implementing policies and
           procedures formaintaining security and safetyof the inmate; facilities and surrounding communities.

    3. Assists the Director of Transfers in developing and updating departmental plans, policies, and procedures,
       as well as .keeping the verso count inthe countyJailEto a. minimum.


    4 Reviews employee disciplinary actions for compliance with Administrative Regulations and make
      recommendationsforredvctionifapplicable.

    5•:   Monitors Institutional Contingency Funds and' monthly reports submitted byallfacilities ,

    6 Counsels subordinate employees in order to resolve conflicts, grievances or complaints, implement
      dsctplinary measures, review all personnel actions on ADOC employees prior to service, and to evaluate
      work performance.


     , lnstructsand assigns duties, delegate tasks and responsibilities to provide clarification when needed to
       ensure compliance with laws, rules and:regulations ,

   8 Attends meetings with the Commissi oner an dother senior leaders in the Department to consider and
          provide advice on all aspects of security and facility overcrowding issues.




                                                                                                            EXHIBIT

                                                                                                                S




CONFIDENTIAL                                                                                                           ADQC-TP-002925
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   WORK HABITS: Provide acheck in the appropriate space to dodumerit that the policies ,     and procedures concerning the
   following areas have been discussed with the eyploye.e For instructions, refer to the Performance Appraisal Manual and
   policies of the agency.
   CHECK WHEN DISCUSSED                                         / Attendance
                                                               /1
                                                                  Punctuality
                                                                  cooperation with Coworkers
                                                          ti      Compliance with Rules


    PREAPPRAISAL S IGNATURES. signatures are mandatory.

    Date the. Preappralsal Session was eld with the employee:
                                                                                zit,Jq
   Ernplbyee.slgnature. (denotes discussion and receipt of form, not agreem$)
    Rater Signature: (denotes dlcyssiOnAfld employee receipt of form)
                                     ..Kl A4fl. F
                                                                                         &t
    Reviewer signature::.


                                                    EMPLOYEE PERFORMANCE .f4%flApPQ4%5AL

      Describe any employee's .strength(s) in performing rsp. nsitilrtis and/or conducting work habits, as observed, during
      the first half of the appraisal period.




      Describe any area(s) that the employee needs to imp rove in performance of responsibilities and/or work habits, as
      observed, during the first half of the appraisal period Document any actions taken or the corrective action plan that was
      developed to improve the areas of weakness if aplan has not been developed, it is appropriate for the rater to consider
      •devëtdpihg aplan .at this time.




       State the areas where the employee has performed in afully competent manner during the first half of the appraisal
       period   Documentation in this area means that the employee performed to the expected level of performance as
       discussed in the Preappralsal session if there is no documentation in the first two areas, this section should be
       completed.




       AMidappraisal session hs. been held on this date and performance has been discuSeth


        Employee Signat e irs                                               Initial if comments attached

        Rater Signature              #.,. S           .                         Initial If comments attached

        Reviewer slgnatur                                                       Initial if comments attached
                                 .
                                     a     -

        ((Signatures denote that Flidapptais& cPcc4on haS been held. between the supervisor and employee.. Signatures are mandatory. gploye signature
        does not denote agreement but discussion of the fotrn and rater comments Comnients may be attached The person attaching comments must initial

        in .the appropriate space)




CONFIDENTIAL                                                                                                                    ADOC-TP-002926
